Case 2:05-Cv-02322-.]PI\/|-tmp Document 14 Filed 08/30/05 Page 1 of 2 Page|D 13

UNITED sTATEs DIsTRIcT coURT F"‘£° B"'* °-°~
wEsTERN DISTRICT oF TENNESSEE 05 Aus 30 m 7=¢,5
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WMAS M. GOULD
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W.!D C-‘F~ ??-:; S.\ILEMPHlS
VICTOR IKE IWUOHA, JUDGMENT IN A CIVIL CASE
Petitioner,
v.
MICHAEL CHERTOFF, et al., CASE NO: 05-2322 Ml/P
Respondents.

 

JUDGMENT

 

JUDGMENT BY cOURT. This action having come before the court for
consideration, the issues having been considered, and a decision
rendered,

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in accordance
With the Order Denying Petition Pursuant to 28 U.S.C. § 2241, Order
Certifying Appeal Not Taken in Good Faith, and.Notice of Appellate
Filing Fee, entered August §$CJ, 2005, this case is DISMISSED.

APPROVED:

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Date L/ ' Clerk of Court

      

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 2:05-CV-02322 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

Victor Ike IWuoha
PPDC

110 Prison RD
Braithwaite, LA 70040

Honorable J on McCalla
US DISTRICT COURT

